                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                             DOCKET NO. 3:13-cr-00112-MOC

UNITED STATES OF AMERICA,                      )
                                               )
                                               )
                                               )
Vs.                                            )                       ORDER
                                               )
OBIE LAMONT CHAMBERS,                          )
                                               )
             Defendant.                        )
_______________                                )
                                               )
MAJDAH BIN-SALAMON,                            )
                                               )
                 Petitioner.                   )
                                               )



        THIS MATTER is before the court on petitioner Majdah Bin-Salamon’s Petition of

Third Party Right to Forfeited Property (#46) and the government’s Response (#49). Having

considered the Petition and reviewed the pleadings, the court enters the following Order.

                                          ORDER

        IT IS, THEREFORE, ORDERED that a period of discovery of 60 days is allowed for

petitioner and the government. Within 90 days, dispositive motions and briefs shall be filed,

along with any request for hearing as may be provided under Fed.R.Crim.P. 32.2(c)(1)(B).

             Signed: October 8, 2013




      Case 3:13-cr-00112-MOC-DSC          Document 50        Filed 10/08/13     Page 1 of 1
